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                                   6                                    UNITED STATES DISTRICT COURT

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                                                                       NORTHERN DISTRICT OF CALIFORNIA
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                                  10     ALICIA HERNANDEZ, EMMA WHITE,
                                         KEITH LINDNER, TROY FRYE,
                                  11     COSZETTA TEAGUE, IESHA BROWN,                          No. C 18-07354 WHA
                                         RUSSEL and BRENDA SIMONEAUX,
                                  12     JOHN and YVONNE DEMARTINO, ROSE
Northern District of California
 United States District Court




                                         WILSON, TIFFANIE HOOD, GEORGE
                                  13     and CYNDI FLOYD, DEBORA GRANJA,                        ORDER ON PROPOSALS FOR
                                         and DIANA TREVINO, individually and                    DISTRIBUTION OF CLASS NOTICE
                                  14     behalf of all others similarly situated,               AND GRANTING STIPULATED
                                                                                                EXTENSION OF DISCOVERY
                                  15                     Plaintiffs,
                                                                                                DEADLINES AND TO ENLARGE
                                                                                                TIME FOR SUMMARY JUDGMENT
                                  16              v.                                            HEARING
                                  17     WELLS FARGO BANK, N.A.,
                                  18                     Defendant.

                                  19

                                  20          A prior order (Dkt. No. 217) certified a class in this action and requested that the parties

                                  21   submit a joint proposal for class notification with a plan to distribute notice by first-class mail.

                                  22   That order also stated that the Court would be amenable to reopen discovery for a limited time.

                                  23   The parties submitted a stipulated proposal for class notice as well as a stipulated request for the

                                  24   Court to briefly re-open discovery (Dkt. No. 233). Lastly, the parties submitted a stipulated

                                  25   request to vacate the summary judgment hearing on April 2nd, to be heard sometime after class

                                  26   notice is distributed and the opt-out period has elapsed (Dkt. No. 249). This order rules as

                                  27   follows:

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                                                  1. The cut-off for discovery regarding information relating to
                                   1                 additional class members is hereby extended to MARCH 31,
                                                     2020, as stipulated to by the parties. The cut-off for expert
                                   2                 discovery pertaining to class wide damages — updated expert
                                                     reports and depositions relating thereto — is extended to MAY
                                   3                 5, 2020, as stipulated.
                                   4              2. Heffler Claims Group will serve as the notice administrator, as
                                                     stipulated. By MARCH 15, 2020, Wells Fargo Bank, N.A. shall
                                   5                 provide class counsel and Heffler with the contact information
                                                     of all class members, as the parties stipulated to. Notice shall
                                   6                 then be distributed to the class by first-class mail by MARCH
                                                     30, 2020, as stipulated. Class members will have until MAY
                                   7                 11, 2020 — 42 days — to opt-out of the class.
                                   8              3. The class notice shall include all content which the parties
                                                     jointly stipulated to. This order DENIES defendant’s request for
                                   9                 the inclusion of a statement regarding its mediation efforts with
                                                     borrowers. The notice shall remain silent on the issue of class
                                  10                 members’ attendance at trial—that is, it shall neither state that
                                                     their attendance “is not required” nor that their attendance
                                  11                 “might” be required.
                                  12              4. Pursuant to the parties’ joint request for the partial summary
Northern District of California
 United States District Court




                                                     judgment hearing on April 2, 2020, to be vacated until after the
                                  13                 opt-out period has expired, this order hereby VACATES said
                                                     hearing.
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                                                  5. The current trial date of May 11, 2020, is also VACATED. The
                                  15                 new trial date will be set at the hearing for summary judgment
                                                     which will take place after the opt-out period has ended.
                                  16                 Counsel should expect a trial date in the summer and plan
                                                     accordingly.
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                                  19       IT IS SO ORDERED.

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                                  21   Dated: March 12, 2020.

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                                                                                           WILLIAM ALSUP
                                  24                                                       UNITED STATES DISTRICT JUDGE
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